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Exhibit A
Part 2 of 3
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Schondelmeyer, Pharm.D., Ph.D., Stephen W. - Vol. II

Washington, DC

February 26, 2009

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL
INDUSTRY AVERAGE WHOLESALE
PRICE LITIGATION
THIS DOCUMENT RELATES TO
U.S. ex rel. Ven-a-Care of
the Florida Keys, Inc.

Vv.

Abbott Laboratories, Inc.,

No. 06-CV-11337-PBS

Videotaped deposition of STEPHEN W.
SCHONDELMEYER, PHARM.D., PH.D.

Volume ITI

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MDL NO. 1456
CIVIL ACTION

O1-CV-12257-PBS

Judge Patti B. Saris

Chief Magistrate

Judge Marianne B.

Bowler

Washington, D.C.

Thursday, February 26, 2009

9:00 a.m.

Henderson Legal Services, Inc.

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actual acquisition cost, their actual cost of
dispensing and their typical net profit that's what
the state of California expects the pharmacy to submit
to them.

Q. I'llLask the same question you asked in
your report and for which you gave a one word answer
in your report. "Does this mean the pharmacy
overcharged on the generic prescription"?

A. And the answer is if all the assumptions
are met that these are their actual costs in all
cases, no.

Q. Thank you. If Medi-Cal or any Medicaid
program paid that pharmacy $12.91 in reimbursement

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WN = DOMAIN A & Wh

would you agree with me that the Medicaid program did 14

not overpay that pharmacy?
MS. BROOKER: Objection, form.

A. Well, again, this would probably have been
subjected also -- since this is generic we're talking
about -- subjected to the lower of the estimated
acquisition cost plus the dispensing fee that the
state charged. And this would have been reduced.
Actually, Medi-Cal would have reduced this and the

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16
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Page 401 |
would pay if that’s what it said.
Q. I'm asking you whether the state should pay
as a matter of good public policy $8.52 in the example].
that we just gave?
MR. BREEN: Objection, form.
MS. BROOKER: Objection, form.

A. I can't answer that because the state has
to make their choices and they've made choices.

That's what their regulation is. They don't have the
option to pay 7.52 or whatever you're describing. The
formula is fixed, is known. The pharmacy would know
that up front too. And then the pharmacy's choice is
am | going to continue filling those prescriptions at
that price or am | not.

Q. Ifthe pharmacy were paid $8.52 for this
$12.91 charge can you predict whether the pharmacy |
would continue to participate in Medi-Cal?

A. I mean, this is -- first of all, it's a
hypothetical. This is one example. This is a
generic. The pharmacy would have to decide how much}
that will affect their bottom line and how many
patients they have on this or similarly situated

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pharmacy wouldn't have been paid 12.91.

The pharmacy would have submitted what they
were asked to by the state -- that is, their usual and
customary charge, which is 12.91 -- but the formula at
Medi-Cal would have looked at estimated acquisition
cost plus a dispensing fee of 7.25. It would have
looked at a maximum allowable ingredient cost if the
state had one. It would have looked at a federal
upper limit if it had one and added a dispensing fee
to each of those. And it would have compared to the
usual and customary charge of the 12.91.

Since the state pays a dispensing fee
that's less than the pharmacy's actual cost here, they
may have reduced the payment to the pharmacy.

Q. Would that be appropriate?

MS. BROOKER: Objection, form.

A. It's not a matter of if it's appropriate.
That's what the regulation is.

Q. Are you telling me that the state should
pay the pharmacy in our hypothetical $8.52?

MS. BROOKER: Objection, form.

A. I'm telling you that's what their formula

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Oe IA i Bw OO OAT D HA & WN

NN bh
No ©

Page 402 |
generics and what the effect -- generics in general
are about 50 to 60 percent of the prescriptions but
they account for less than 20 percent of the dollars
in most cases in the pharmaceutical marketplace
because they're generally priced much lower.

The pharmacy would have to decide. Some
may continue to do so. As I described in that
California report at the end, I described that some
pharmacies will continue filling prescriptions even at |
below cost because discontinuing them means they go /
out of business quicker than if they slowly bleed to
death by taking low cost prescriptions over time. So
it depends on the pharmacy and how they're situated
financially and other issues that they need to
consider.

Q. You weren't asked to consider such an
analysis in this case with respect to the government’
retroactive reduction in ingredient cost payments, |
were you?

MS. BROOKER: Objection, form.

A. No, I was not.

Q. Dr. Duggan, I'm going to hand you Exhibit

8 (Pages 399 to 402)

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1 1093. 1 report.

2 A. Excuse me. I'm Dr. Schondelmeyer. 2 Q. And that is a reduction in the prior

3 Q. You'll understand my problem. Dr. 3 sentence from $109.444 million paid lowered by

4 Schondelmeyer, we're going to hand you Exhibit 1093) 4 $81.222 million paid, right?

5 which is Dr. Duggan's expert report in this case. I 5 MS. BROOKER: Objection, form.

6 understand that you've reviewed this report in the 6 A. 1 see the numbers and the results here.

7 past? 7 Again, I don't recall the details of the method of how

8 A. I did look through it. I did not pore 8 he got there.

9 through it in detail. 9 Q. And then if you turn to page 80 of the

10 Q. You understand that Dr. Duggan calculated | 10 report the bottom paragraph on page 80, the second
11 the difference between what Medicaid did pay for 11 sentence reads "This represents 68.3 percent of the

12 certain prescription drugs involved in this case and =| 12 $47.702 million in Medicaid spending on complaint
13. what Medicaid would have paid given certain 13 products." And do you understand there that for th
14 alternative AWPs that he calculated based upon 14 remaining 38 states that Dr. Duggan analyzed that he.
15 Abbott's average sales prices. Is that an accurate 15 calculated a difference, a reduction, of 68.3 percent /
16 summary of what Dr. Duggan did? 16 from what Medicaid actually spent on those drugs
17 MS. BROOKER: Objection, form. 17 between 1991 and 2001?
18 A, I'm not sure that's not a complete summary. 18 MS. BROOKER: Objection, form.
19 Those elements sound approximately close. But I'm 19 A. [see the numbers in the statements here.
20 sure there are more qualifications that he placed on 20 Again, I don't recall the details of the methods
21 it. 21 behind how he derived that.
22 Q. Ifyou could turn to page 77 of Exhibit 22 Q. And so that we are talking just in round

Page 404 Page 406

| 1093 if you look at the top paragraph of page 77 it's | numbers, I'll refer to Dr. Duggan's reduction --
2 ahalf ofa paragraph. This is in a section entitled 2 because I don't believe he calculates a percentage for

3 “Medicaid summary for the first 12 states." And if 3 the total of all states, all 52 states or 52 programs,

4 you look at the last sentence it states "This value of 4 I'll refer to that generally as a reduction of 68

5 difference is 74.2 percent of total Medicaid 5 percent to be conservative in total Medicaid spending

6 spending." Do you see that? 6 asa result of Dr. Duggan's calculations.

7 A. I see that statement. 7 MR. BREEN: Objection, form.

8 Q. Do you understand that for the first 12 8 A. I'd rather not use an inaccurate number.

9 states that Dr. Duggan analyzed he calculated a 9 Q. Allright. Have you been asked to analyze
10 reduced total Medicaid spending of 74.2 percent given 10 what the impact on providers and beneficiaries would
11 his analysis and the assumptions that he made? 11 be ofa reduction of 68 to 74 percent in total
12 MS. BROOKER: Objection, form. 12 Medicaid spending for the prescription drugs involved |
13 A. Ihave not reviewed this in detail recently 13 in this case?
14 enough to recall all the aspects. So I could take 14 MS. BROOKER: Objection, form.
15 your representation. But I wouldn't say that | agree 15 A. [have not been asked to analyze Dr.
16 with that. I could take it as an assumption. 16 Duggan's report or the results of that report.
17 Q. You'll agree with me that Dr. Duggan’'s 17 Q. Let me ask you based upon your expertise
18 report says that he has calculated a difference of 18 and the work you've done for pharmacies, would it be |
19 74,2 percent of total Medicaid spending, right? 19 appropriate for a Medicaid program to reduce spendin
20 A. Yes, I agree that that statement is there. 20 on pharmaceutical products by 68 to 74 percent without,
21 1 didn't agree that I understand exactly how he got 21 considering the impact on providers and beneficiaries?
22 there because I don't recall all the details of the 22 MS. BROOKER: Objection, form. :

~ 9 (Pages 403 to 406)

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1 A. [think that would be a consideration that 1 MR. BREEN: Objection, form. And that's an
2 the Medicaid program would take into account. They 2 improper question.
3 may determine that there's no effect or that the 3 A. Ican't answer that as asked. What I can
4 effect might play out in different places. Again, 4 answer is that it would be appropriate for the state
5 they may determine that pharmacies have other generics 5 to implement the policies and statutes and regulations
6 that are even lower cost than the ones used and these 6 that exist, as exist in the Medicaid program. Then if
7 might be very conservative estimates of the savings 7 others, if providers, if beneficiaries, others, have a
8 rather than the full amount of savings. 8 disagreement with that they can take it up with either
9 Q. We're here talking about -- but I'm asking 9 the legislature or with the courts.
10 about the impact on providers and beneficiaries of 10 Q. So you're saying that it would not be
Il reductions in payments to pharmacies of between 68 and 11 appropriate simply to reduce the payments by 68 to 74 |
12 74 percent. Do you understand? 12 percent without determining whether that has an impac
13 MS. BROOKER: Objection, form. 13 on access to care? :
14 A. Junderstand. And I'm describing that 14 MS. BROOKER: Objection, form.
15 given a change -- | can't fully analyze it without 15 A. I'm saying that the percent reduction has
16 time and going through Dr. Duggan’s report and other 16 nothing to do with -- the state is obligated to follow
17 factors. But pharmacies given a change may choose a 17 the program policies and to pursue what they think the
18 different generic product that costs less or that has 18 statutes and policies are, as they did in this case
19 amore favorable payment to them. 19 and I believe they did in the California case that I
20 Q. I'm not asking you to analyze it. I'm 20 dealt in. The action then of providers and
21 asking you whether it would be appropriate for a 21 beneficiaries is to take it up with the courts if they
22 Medicaid program to reduce payments to pharmacies by 22 disagree and the courts will determine what's
Page 408 Page 410 |,
1 68 to 74 percent without conducting such an analysis 1 appropriate.
2 of the impact on providers and beneficiaries. 2 Q. Do the statutes and regulations include an
3 MR. BREEN: Objection, form. 3 obligation to provide access to care to beneficiaries?
4 A. Ifthe change they're undertaking is what 4 MS. BROOKER: Objection, form.
5 they feel that the program statutes and regulations 5 A. They do. But that's a different
6 and policies are expected, I think they would do that. 6 perspective and the state can decide whether or not
7 think they would monitor to see what the effect is 7 they think there's an impact and then they can deal
8 and may take other consequential actions at a later 8 with that. If others disagree, they can, again, take
9 point in time. But -- 9 it up with the courts or -- by taking action -- or
10 Q. I want to be very clear so that your 10 with the legislature.
11 pharmacy clients in California if they see this 1] Q. So it sounds like we're in agreement. You
12 videotape will understand. 12 would agree with me that simply reducing payments by
13 MS. BROOKER: Objection. 13. 68 to 74 percent without considering access to care :
14 Q. It's your testimony that it would be -- 14 and other regulatory requirements would be
15 MR. BREEN: Objection, form. 15 inappropriate, right?
16 Q. It's your testimony that it would be 16 MS. BROOKER: Objection, form.
17 entirely appropriate for the state of California to 17 A. No, I did not say that.
18 reduce Medi-Cal payments for injection pharmaceuticals 18 Q. Allright.
19 by 68 to 74 percent without also considering the 19 A. I will not agree to anything that describes
20 impact on providers and beneficiaries. Is that your 20 apercent reduction. I will agree that the state can
21 testimony? 21 follow what they feel the statutes and regulations are
22 MS. BROOKER: Objection, form. 22 and their obligations in implementing the program and

10 (Pages 407 to 410)

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1 Q. It's a joint engagement? 1 and Ms. Brooker what you were asked to do. If you
2 A. That's my understanding. I'm not sure of 2 can't answer that you can say | can't answer that or
3 the engagements, but -- 3. don't remember. That's fine.
4 Q. You're not sure of your own arrangements 4 A. I can answer that by referring to what I
5 with them? 5 say -- | define in my report the scope of what I've
6 A. I send a bill to both. 6 been asked to address. And I'd like to be as accurate
7 Q. Okay. 7 as possible and use that report.
8 A. They decide how they're going to pay it. 8 Q. My question is can you tell me as you sit
9 That's not my concern. 9 here today --
10 Q. Is there a written engagement letter 10 MR. MERKL: Are you going to tell him to
11 between you and either Ms. Brooker or Mr. Breen tha{ 11 put the report down and answer the question the way
12 describes what your task in this case is going to be? 12 I've asked it?
13 A. I don't recall an engagement letter. There 13 MS. BROOKER: I think he has answered the
14 is -- the Department of Justice does have a form they 14 question. If you want to move on to another area you
15 do to authorize a certain amount of payment for 15 can or you can ask him to refer specifically to his
16 experts and there is a contractual form. But beyond 16 report. It's up to you.
17 that I don't recall an engagement letter. 17 BY MR. MERKL:
18 Q. Did you do that in this case? Is that 18 Q. Can you without referring to your report
19 something you execute? 19 tell me what it was you were asked to do?
20 A. No. The government executes and asked asks 20 A. Ican. I mean --
21 me to review and sign it. So I return it to them. 21 Q. Then tell me without looking at the report.
22 Q. Did you do such a form for your Dey and 22 A. I would qualify that this is just from
Page 456 Page 458
| Roxane engagement? 1 recollection.
2 A. I believe I did and we returned that to the 2 MR. BREEN: Excuse me. Objection, form.
3 government. And I believe it was disclosed to you. 3 A. I would qualify that I'm giving an answer
4 Q. Does that form describe exactly what it is 4 from recollection at your request. But my report does
5 you're going to do in this case? 5 represent what I was asked to do. As best I recall it
6 A. I think it just gave a general description 6 includes the same general types of things I was asked
7 ofthe task. 1 don't think it -- 7 to do in the Abbott case, provide an overview of the
8 Q. And what was the general description of the 8 pharmaceutical market, an overview of the Medicare and
9 task you performed here? 9 Medicaid programs, an overview of their reimbursement
10 A. I don't remember. We'd have to look at the 10 and payment processes, a description and overview of
11 form that | believe you have and I'd be glad to review 11 the role that commercial drug price databases play in
12 it and see what it says. 12 that marketplace, a description of how the price
13 Q. Okay. Tell me what exactly you were asked | 13 information gets into those drug price databases, a
14 todo as an expert in this case. 14 review of the documents within each of the respective
15 A. That's stated in my report, again. 15 companies, Dey and Roxane, with respect to their role
16 Q._ I'd like you to tell me from your own 16 and reporting prices and their understanding of those
17 memory as best you can recall without looking at youy 17 broader market conditions that I've described, and how
18 report. 18 they -- what they understood about that market and how
19 A. I'd prefer to use my report to be accurate. 19 those prices and list prices affected the payment
20 Q. I'msorry. You have to answer the 20 system in third parties in general and in Medicare and
21 questions as they're posed. Please tell me as best 21 Medicaid in particular and then an opinion about the
22 you can recall during the discussions with Mr. Breen | 22 impact that that would have on the Medicare and

22 (Pages 455 to 458)

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Medicaid programs.
And there may be other things that are

specified in my report that I don’t recall right now.

Q. So you were asked to opine on what Dey and
Roxane understood?

MS. BROOKER: Objection, form.

A. Again, I'm doing this from memory. That
probably isn't the way it's phrased.

Q. Well, tell me how it's phrased.

A. Well, | would be glad to if you let me look
in my report. I don't recall. That's just a general
description you asked me to give from recollection
which I qualified as probably not completely accurate
because my report states what | was asked to do.
Would you like me to look at that and clarify that?

Q. Do you consider yourself to be a scholar?

A. Yes, I do.

Q. What aspect of your scholarly discipline
would enable you to opine on what a company understood

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know what a defendant knew?
MS. BROOKER: Objection, form.
MR. BREEN: Objection, form.
A. looked at documents that the company
produced and reviewed them for their face value.
Q. Allright. Let me try the question a
little different. I think I understand your answer.
I'm not trying to argue with you. What is it you
bring to bear reviewing these documents that a
layperson wouldn't be able to bring to bear in terms |
of reviewing these documents and determining what i :
was a company knew? :
MS. BROOKER: Objection.
A. I bring to bear 30 years of experience in
the pharmaceutical marketplace observing and studying |
that marketplace, knowing the very complex terminology,
and complex and detailed way in which this marketplace |
works, the unique terminology and language that's used |
that most people might not understand or understand in

20 about something? 20 the way that it would be used within the marketplace,

21 MS. BROOKER: Objection, form. 21 the types of terminologies, behaviors, processes,

22 A. I told you I probably wouldn't have used 22 descriptions that would be present in documents.

Page 460 Page 462 |

1 the word "understood" about that. I was asked to look | So I bring together an expertise and an
2 at documents from the company and identify to what 2 understanding about this marketplace and how it works
3 degree that company's communications showed evidence | 3 and the behavior of companies in terms of their /
4 that they were aware of the processes and the role of 4 marketing, pricing behaviors in the pharmaceutical
5 the list price information. 5 environment that a normal layperson wouldn't have. |
6 Q. So you were asked to evaluate evidence of 6 Q. Can you give me an example of in Dey's case
7 the company? 7 adocument that Dey had that you looked at that the]
8 A. Yes, | was asked to evaluate evidence of 8 average layperson wouldn't have been able to :
9 the company. 9 understand but that you were able to understand by|
10 Q. And you were asked to draw conclusions 10 virtue of your expertise? :

11 about what the company knew based on that evidence} | | MR. BREEN: Objection, form.

12 MS. BROOKER: Objection, form. 12 A. I'd have to look back at the ones |

13 A. Lidentified things that the company knew 13 reviewed and examine that. | think there are

14 and behaviors that they took and was asked to describe 14 different levels at which laypeople can understand

15 those behaviors and their consequences. 15 things and levels at which they cannot. The
16 Q. And that was based on the documents from 16 terminology in pharmaceuticals alone is very complex. :
17 the company that you looked at? 17 Q. So some of the documents referenced in you :
18 A. Ihave described in my report what that's 18 report a layperson could understand like a jury?
19 based on, yes. 19 MS. BROOKER: Objection, form.

20 Q. Okay. Well, again, what scholarly 20 A. I believe with contextual description of

21 discipline or knowledge did you bring to bear in terms| 21 the marketplace jurors certainly could understand

22 of reviewing the documents in terms of enabling you td 22 everything that's here. But I think --

23 (Pages 459 to 462)

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] Q. So you could tell them how the marketplace | | A. That was Upjohn in Kalamazoo, Michigan.
2 works -- 2 Q. And what kind of drugs does Upjohn sell in
3 A. May I finish my answer? 3. the program that you were involved in?
4 But I think the jurors need a broader 4 A. I'msorry. What was?
5 context to place those documents in to understand how | 5 Q. Were they a generic manufacturer? Were
6 the broader system works above and beyond Dey and 6 they a brand manufacturer?
7 above and beyond Roxane to put in context what's 7 A. Upjohn had brand and generics.
8 discussed in those documents. 8 Q. And can you explain to me what your
9 Q. So while you can maybe provide a context 9 experience selling generic drugs is, if any?
10 you really can't offer the jury any assistance in what} 10 A. I've provided consulting and worked with a
11 any defendant knew in this case? 11 number of generic companies.
12 MS. BROOKER: Objection, form. 12 Q. Which ones?
13 A. Lbelieve by the level and degree to which 13 A. Over time, many. Ethex, KV
14 information is presented, used, if | see information 14. Pharmaceuticals, Teva, Apotex, who is the other one in :
15 that Dey or Roxane engaged in training programs for [15 Canada. Novopharm. It was in the U.S. market as
16 their employees about reimbursement systems | think 1|16 well. Upsher-Smith, Paddock Labs and probably a
17 can represent that Dey knew and understood the role of| 17 number of others. Those are the ones I recall.
18 reimbursement systems in the marketplace and the role | 18 Q. What have you done to assist them in
19 that various prices played in that reimbursements and | 19 connection with sales?
20 the consequences that would result from setting a 20 A. I've provided presentations to their sales
21 price one way versus another. 21 and marketing and executive staffs on the
22 I can bring that to the table, yes. I can 22 pharmaceutical market, on pricing issues, on the role
Page 464 Page 466 |
1 describe that. | of pricing and marketing. :
2 Q. But can you tell me, though, which of the 2 Q. And what kind of advice do you give in that
3 documents you feel that's in your report that the jury 3 connection?
4 would require your assistance to interpret? 4 A. I describe the market and how things work.
5 MS. BROOKER: Objection, form. 5 I don't -- you know, I usually give generally talks :
6 A. I think all the documents listed in my 6 and then we have a question and answer period and they |
7 report the jury could read and probably would come to | 7 ask things that are of interest to them. :
8 the same conclusions | have about them. 8 Q. Do you have sales materials you use for /
9 Q. Okay. Now, have you had any training in 9 those programs? Do you have presentations that you /
10 marketing? 10 have that are written down? :
I A. Yes, I have. 1 A. I probably have a series of Power Point
12 Q. What training have you had in marketing? |12 slides. | don’t use sales material per se.
13 A. I've had courses in marketing in my Ph.D. 13 Q. When last did you do one of these
14 program, marketing -- a general marketing course, a 14 presentations for a manufacturer?
15 healthcare marketing course, a pharmaceutical 15 A. Probably a year ago.
16 marketing course. 16 Q. Did you discuss things in your
17 Q. Do you have any sales training? 17 presentations like marketing the spread and so forth?
18 A. [have sales training. I went through part 18 MS. BROOKER: Objection, form. i
19 of the sales training of a pharmaceutical company when| 19 A. It depends on the presentation and what
20 I was -- did a faculty exchange program with a 20 I've been asked to do. Sometimes they ask me to come
21 pharmaceutical company one summer. 21 and give a presentation on what's happening, the
22 Q. Which company was that? 22 dynamic flux in the marketplace, what kind of things

coe 4

24 (Pages 463 to 466)

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I THE WITNESS: Can you read that back? He | 1 figure out what a reasonable dispensing fee should be
2 had several clauses there. I'm not sure I understood. 2 that components of that have to include the pharmacy's|
3 MR. MERKL: All right. Let me try to make 3. overhead and profit; is that correct? :
4 it simpler then. 4 A. It tells us that a dispensing fee is an
5 THE WITNESS: Okay. 5 established fee to cover a pharmacy's overhead and
6 MR. MERKL: I'll withdraw that. 6 profit.
7 BY MR. MERKL: 7 Q. Now, when they decided what was in the
8 Q. The phrase "reasonable dispensing fee"! thaq 8 dispensing fee -- I'm asking you I guess to put on
9 you're using there in the sentence -- okay? Do you | 9 your kind of expert hat here now -- can you tell me

10 see that phrase there? All right. The dispensing fee| 10 why they decided they wanted to put profit in as an

11 you're talking about there is the dispensing fee 11 element of the dispensing fee? | mean, I'm sure --

12 that's used in the reimbursement formula -- 12 was it just pharmacists lobbying for this or was there

13 MS. BROOKER: Objection, form. 13 a valid policy reason why you would want to have

14 Q. -- the concept? 14 profit to be part of the dispensing fee?

15 A. Yes. 15 MS. BROOKER: Objection, form.

16 Q. Okay. Now, you say "Medicaid program 16 A. I think a statement like this that profit

17 materials describe a 'reasonable dispensing fee,'"" | 17 is aconsideration. It doesn't say they're required

18 correct? 18 to. But it does say it's part of an established -- it

19 A. If does say that, yeah. 19 doesn't say how much or how they determine that.

20 Q. So there are Medicaid program materials | 20 Q. Agreed.

21 that tell us how a dispensing fee has to be put 21 A. But it's listed there. I think it's a

22 together? 22 recognition that part of the U.S. healthcare delivery

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MS. BROOKER: Objection, form.

A. There are descriptive materials about what
a dispensing fee is and what it includes and that's
what I've quoted here.

Q. Can you tell me what those materials you're
referring to here are?

A. What those materials are?

Q. Yeah.

A. Well, I've quoted where that comes from.
And it comes from this source, the National
Pharmaceutical Council. And within that document we'd
have to look and see. That document often -- a number
of pages in the National Pharmaceutical Council book
each year are either Federal Register notices from the
government or other Medicaid program materials and
other materials.

Q. So your citation there represents this

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system that provides outpatient prescriptions to the
public and in this case to Medicaid recipients are
typically community pharmacies, independents, chains,
grocery stores, you know, mass merchandisers. But all
of those are private business entities that are in the
marketplace for profits, you know, small businesses,
large businesses.

And I think it's just a recognition that if

one said Medicaid's policy was to never pay a cent of
profit then they probably wouldn't have providers in
that marketplace.

Q. Okay. Thank you. I'd like to take a look
at page 4 now. At the bottom of page 4 it has sources
of growth in Medicaid drug expenditures. And I gather
from '92 to 2002 the Medicaid drug benefit cost was
expanding. Is that correct?

A. That would be fair to say, yes.

ened ph fh Dk
COom~I An PWN SK OO TIAA PWN —

document which is a compilation of different federal Q. And the cost of drugs was expanding?

eek ph fh Dh th
Oe WINN WwW NYY Ov MAINA MN SPwWN —

Medicaid materials? 19 A. Well, the expenditures for drugs is what
20 A. And other things. 20 this addresses, primarily. It doesn't talk about --
21 Q. And what this then tells us is when you're 2] Q. My mistake. Expenditures is a better word.
22 trying to figure out or when the state is trying to 22 So the expenditures for drugs were expanding and

30 (Pages 487 to 490)

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1 there's a number of factors that go into that, right? 1 And the cost per prescription could be looked at in
2 A. Yes. 2 its aggregate or it could be looked at in the two
3 Q. Can you tell me the factors that went into 3 components that make it up. That is, the ingredient
4 that, why these drugs expenditures were expanding front 4 cost of the drug product plus the dispensing fee
5 ‘92 to 2002, in your own words? 5 and/or compensation to the pharmacist.
6 MS. BROOKER: Objection, form. 6 Q. Did you look at that here?
7 A. I can in my own words or we could look at 7 A. Yes, I did.
8 the chart on the next page. It demonstrates it very 8 Q. And what did you find?
9 well. 9 A. That the manufacturer drug product cost as
10 Q. We'll go to the chart on the next page in 10 paid by Medicaid was going up substantially. 1 don't
1] just a second. 11 remember what it was. About 140 percent, 137 percent
12 A. Yeah. 12 And that the dispensing fees to pharmacists -- all of
13 Q. Okay. Hf you want to look at it, fine. 13. these were adjusted for constant dollars over time.
14 But just give me an idea -- 14 The dispensing fees to pharmacists were down 20
1S A. | know that pretty well. 1S percent over the decade 1992 to 2002.
16 MS. BROOKER: You're talking over each 16 Q. Now, you say you adjusted it for constant
17 other. Both. Really, you have to wait for a 17 dollars. Can you explain to the jury what that meang
18 question. Please wait for his answer. 18 and why it's an advantage to do it that way?
19 BY MR. MERKL: 19 A. Well, it's not that either is right or
20 Q. Just in general terms why was drug 20 wrong. It just gives a different perspective and
21 expenditures going up from '92 to '02? If you'd like 21 information on the value of things. Constant dollars
22 to look at the chart that's fine. 22 are -- first of all, if 1 said I'll give you a
Page 492 Page 494 |
| A. There are a variety of functions that drive 1 thousand dollars today or a thousand dollars in five = |
2 the equation of total drug expenditures in the 2 years and asked people which they want most people
3. population and in Medicaid in particular. First is 3 would say well, give me the thousand dollars today
4 the number of persons covered. With respect to 4 because it's going to be worth more than a thousand
5 Medicaid between 1992 and 2002 there was an expansion| 5 dollars in five years because in general in society --
6 of the number of people covered by Medicaid programs | 6 although, again, 1 would caution that in today's
7 inthe U.S. That expansion was about 60 percent -- 7 environment I don't know what would happen.
8 59, 60 percent. 8 But in general society over time things
9 So one factor was -- no. Actually it 9 tend to cost us more. And so adjusting for constant
10 wasn't that much. The utilization was 60 percent. 10 dollars is a way of looking at the amount paid for
11 About 5.6 percent increase in the number of recipients 11 something over time and trying to put it in equivalent
12 in that ten year time period. 12 dollars for any point in time. So in this case we
13 The second factor that affects the drug 13 adjusted for constant dollars. So it takes out -- and
14 expenditure equation is what we call utilization. A 14 used the generate of inflation using the consumer
15 simplistic way to describe utilization is the number 15 price index inflator to do that.
16 of prescriptions per person per year. And that 16 Q. Well, let's turn to your chart. You can
17 number, the utilization, prescriptions per person per 17 assume I guess in terms of answering these question]
18 year, did increase by about 59 or 60 percent. 18 that the chart will be on a screen and the courtroom
19 So we had a slight increase in the number 19 can see it. Okay?
20 of people covered, a 60 percent increase in the 20 A. Mm-hmm.
21 prescriptions for person per year. The next component | 21 Q. Now, in that first column there about the
22 is -- we can look at as the cost per prescription. 22 drug expense, that's kind of the raw cost of all the

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percent, would not be as high, and the rate of
increase in the average payment per Rx would not be as
high and the rate of increase in the drug product
payment per Rx would not be as high.

Q. Now, what if Dey in fact lowered its prices
over time, its WAC, for instance, over time,
regularly, steadily, to follow its sales down? Then
what would happen?

MS. BROOKER: Objection, form.

A. If Dey lowered their WAC that was reported,

if it was reported --

=~ Seen da neawn

Page S01 |
things off so we don't have to talk about them. So am
I correct that you have not done an analysis for
either Dey or Roxane showing the impact of their
pricing on overall market expenditures?

MS. BROOKER: Objection, form.
Q. It's not an analysis you've done for this
report?
A. I've done a qualitative assessment of their
behaviors and the impacts on the market. I've not
done a quantitative assessment as Professor Duggan

has.

I
|
I Q. Reported, yeah. 12 Q. So you can't really comment on whether
| A. -- and was lowered, it would have brought 13 anything Dey did caused overall expenditures to go uf
14 this average down some, But if it wasn't lowered as 14. or down?
15 much as their actual selling prices went down then the | 15 A. Ina qualitative sense I can, yes. Ina
full effect of that would not have been realized. 16 quantitative -- I didn't attempt to quantity it.
Q. But Dey lowering its WAC would help reduce¢ 17 Q. Right. You couldn't tell me whether it's
costs overall then, not just for Dey? 18 $1 or $10 million?
19 MS. BROOKER: Objection, form. 19 MS. BROOKER: Objection, form.
20 A. Well, it would have only affected Dey's 20 A. Well, I didn't address that in my report.
21 particular products in most cases. 21 I could probably give you an order of magnitude and
22 Q. Well, lunderstand. You were telling me 22 address that based on the broad behaviors. But I
Page 500 Page 502 |
1 earlier that if you reported a list price that wasn't 1 didn't attempt to specifically come up with an amount |
2 correct it could be ramifications and cause other 2 orachange. Again, that was --
3 problems in the program. Now, I guess what I'm asking 3 Q. Outside the scope of your --
4 you is if in fact Dey reported a declining WAC for its 4 A. -- not a task I was asked to do.
5 drugs, not only would that help reduce the cost of 5 Q. Now, taking a look at your report for this
6 Dey's drugs actually, but it would also have a 6 time period, from '92 to 2002 there was inflation
7 positive effect in reducing the costs on other drugs 7 going on, right?
8 as long as we're talking about the same drugs, 8 A. There was inflation, yes, in the general
9 albuterol, cromolyn and ipratropium, right? 9 economy.
10 A. It may or may not have had an effect on 10 Q. And I guess I'm looking now about the
11 other drugs. It depends on how many products were in 11 dispensing fee payment description?
12 agiven category and whether it affected the kind of 12 A. Yes.
13 median AWPs or other things, if these were reimbursed 13 Q. In terms of what you're representing here
14 under J-code type payments or if these were reimbursed 14 what items conceptually go in or should be considere :
15 under Medicaid type payments. So it depends. You 15 in setting the dispensing fee payment description that
16 have to qualify that. 16 you're discussing here conceptually? :
17 Q. Allright. Well, did you do that analysis? 17 A. In who setting it? The pharmacy or
18 MS. BROOKER: Objection, form. 18 Medicaid program? Those are different.
19 A. Idid not do any quantitative analysis in 19 Q. Well, let me ask you. The chart here shows
20 this report. I did a qualitative assessment of the 20 dispensing fees minus 20.2 percent, right? So it
21 impact. 21 says.
22 Q. Yeah. I'm just trying to kind of wall 22 A. Dispensing fee payment per Rx.

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1 and Roxane drugs if you're getting it from other I A. Well, you can, because manufacturers when
2 sources? 2 they sell to wholesaler have a contract with the
3 A. That as good question. Because the 3 wholesaler. They know the wholesaler's prices going
4 manufacturer -- pharmacists are unique from most of 4 through. Ifthey sell to a group purchasing
5 the products in the market. Because these are, quote, 5 organization they have a contract with the group
6 dangerous substances and by law we require tracking of | 6 purchasing organization that specifies what the sales
7 the sales of all pharmaceuticals at all levels, 7 price is. A manufacturer does have the sales price.
8 prescription pharmaceuticals in particular, a 8 Q. But again, both the GPOs and the
9 manufacturer has to keep a record of each sale. 9 wholesalers mark up their prices when they sell to the
10 And I'm familiar with being involved in 10 retailers, don't they?
11 that as an expert and in many cases over time familiar iH A. But that's known -- the manufacturer knows
12 with the types of pricing and sales databases that 12. that information. That's not hidden from them.
13 drug companies keep. And they keep very detailed 13 Q. You think the manufacturer knows what the
14 records of each customer they sold and how much and at} 14 wholesalers sell?
15 what price and what the AWP and WAC and actual price} 15 A. Yes.
16 and discounts and rebates -- and all that detail is 16 Q. And what do you base that on?
17 there. This is electronic. It is available. 17 A. Wholesalers and manufacturers and databases
18 And whether the manufacturer sells to a 18 that capture that information.
19 wholesaler or sells to the pharmacy direct or to a 19 Q. Let me then come back to our case, Dey and
20 group purchasing organization that on paper gets the 20 Roxane. What evidence did you see that told you that |
21 product but has a wholesaler process anyway, those all |21 Dey and Roxane knew how much their wholesalers wer
22 involve contracts and the manufacturer has the data to 22 charging the providers for their drugs?
Page 520 Page $22 |
1 know how that product flows through the system. So 1 A. | didn't address that issue. 1 wasn't
2 there are fewer manufacturers. There may be 8 to a 2 asked to. It wasn't relevant in preparing my report.
3. hundred to a thousand pharmaceutical manufacturers. 3 Q. So you don't know?
4 | think if we looked at the participants in 4 MS. BROOKER: Objection, form.
5 the Medicaid drug rebate program, it's probably 600 or | 5 A. Sol didn't address that in this particular
6 thereabouts manufacturers. So there are only like 600 6 case.
7 manufacturers that would capture all transactions from | 7 Q. So you don't really know if that happened
8 that source, versus going to 60,000 pharmacies to try 8 for Dey and Roxane?
9 to get the same information. And they may have 9 A. I don't know for certain. But I believe
10 different ways of accounting for and tracking things 10 that to be true.
1l and they may have difficult identifying how much 1] Q. And you can't point me to any evidence that |
12 rebate is coming in at what point in time. 12 your belief is based on in the hands of Dey and
13 It's much easier to track. There are fewer 13. Roxane?
14 transaction points and variables and differences at 14 MS. BROOKER: Objection, form.
15 the manufacturer level than there are as you go 15 A. 1 did not specifically evaluate that
16 further down the line. Yet you can get all the detail 16 because it wasn't underpinning any of my opinions in
17 to describe everything that happened after it left the 17 the case. But I would be extremely surprised if it
18 manufacturer in most cases. 18 wasn't true.
19 Q. But unless the manufacturer actually sells 19 Q. Now, let's take a look at your next chart.
20 direct to the pharmacy you don't know what the 20 Can you tell me when your next chart is? That's th /
21 pharmacy paid? You can't get that information frony 21 chart on page 6.
22 the manufacturer, can you? 22 A. Just describe it? What's the question?

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I Q. First, did you prepare this chart? i A. She has a significant role in Medicaid
2 A. Yes, I did. 2 policy at CMS.

3 Q. And what does this chart tell us? 3 Q. And her duties include Medicaid

4 A. Well, as the title describes, it's the U.S. 4 reimbursement for drugs, right?

5 Medicaid average prescription payment, so the average | 5 A. In some sense, yes.

6 total prescription price under U.S. Medicaid, and each | 6 Q. Now, here you say "The payment amount for

7 column in this chart for a given year has three 7 drug products to pharmacies and other providers under /

8 components to it. One is the dispensing fee payment 8 Medicaid and Medicare cannot be viewed in isolation — |

9 component. One is the drug product or ingredient cost | 9 from the other payments to such providers for storage,

10 payment component. And the third part is the rebate 10 handling, counseling, dispensing, billing, record
11 amount. 11 keeping and administration.” That's true, right?

12 Q. And you prepared this based on data that 12 A. That's what this says, yes.

13. you reviewed? 13 Q. Well, and you agree that's still a true
14 A. Based on data from government sources and | 14 fact, right?

15 prepared, yes. 15 A. 1 do, based on the definitions that are
16 Q. And again -- I'm sorry if I already asked 16 described here, yes.

17 you this -- but to the best of your knowledge this 17 Q. Okay. It says "In both the Medicaid and
18 chart and the prior chart we just looked at are true | 18 the Medicare program drug payment policy incorporates :
19 and accurate descriptions of the data as you saw it af 19 two components: a component directly representing the
20 the time? 20 cost of professional services and a component
21 A. Yes. 21 representing drug costs." Again, correct? We've just
22 Q. Now, below the chart -- and again, this 22 been through that, right?

Page 524 Page 526 :
| chart and this report is being presented to I guess 1 A. Itdoes. And I qualify the cost of :
2 CMS. Am I correct? 2 professional services here is limited to the cost of :
3 A. They were the contractor that requested the 3 professional services involved with the broader aspect
4 report, yes. 4 ofa dispensing a prescription, which includes the
5 Q. And in particular the woman's name is 5 required counseling under OBRA '90. It doesn't
6 Deirdra Duzor? 6 necessarily include all professional services that
7 A. Duzor, yes. 7 might be delivered. Those would be yet a third
8 Q. And can you tell the jury who Deirdra Duzor 8 component rather than the two as described here.

9 is? 9 If a pharmacist or a provider provides :
10 A. [don't remember her exact title. Her role 10 additional professional services beyond those required
11 is over Medicaid policy with respect to 11 with typical dispensing, as I've described here, then |
12 pharmaceuticals. She is one of -- not the only 12 there would be a third component or a cost of services :
13 person. Larry Reed is another person this works with |13 that would need to be accounted for. :
14 her. 14 Q. Yeah. I missed that before. Before when
15 Q. Mr. Reed works for Mr. Duzor, right? 15 you explained to me the costs that went into the
16 A. | don't recall who role they're in 16 dispensing fee was this cost of this services
17 necessarily. And they both report to the head of CMS. | 17 counseling concept that you've just explained to mej
18 Q. And who's that? 18 was that included in that or was that a third one wel
19 A. I don't recall at this point in time. 19 didn't consider? :
20 Q. But Ms. Duzor was someone with principal | 20 A. Well, wait. You're muddling even now what
21 oversight responsibility for the Medicaid program af21 | said.

22 the time you prepared this report? 22 Q. Okay.

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1 A. The counseling listed here does go into the ] MS. BROOKER: Objection, form.
2 cost of dispensing. 2 A. I think it's good pharmacy practice to
3 Q. Okay. 3 provide it. But you have to assure that there's :
4 A. To the degree that that counseling is the 4 coverage and appropriate compensation. Just providing}
5 counseling that's required under OBRA '90 that says 5 it without having it paid for means that the pharmacy
6 you must counsel a patient on -- there's in OBRA '90 a | 6 also might be going out of business because they're
7 specific definition of counseling. It's not all 7 incurring expenses. But that doesn't obligate a third
8 counseling or all patient education or all care 8 party to pay you.
9 management. That's a separate issue that -- under 9 Q. Okay. Now, the next sentence "Note that
10 Medicare now for example we call it medication therapy] 10 deliberately or not the drug cost component of the
11 management. And I've conducted of number of studies | 11 payment has typically offered a margin relative to
12 identifying the cost of providing medication therapy 12 acquisition cost."
13. management or other professional services and 13 A. I'msorry. Where are you? I don't --
14 identifying the outcome and the impact that they have | 14 Q. I'm reading the next sentence.
15 on patient care and other things. 15 A. Oh. "Note that." You left off the --
16 But that's a separate cost that's not 16 Q. I'msorry. Well, let me start again. The
17 incorporated in this particular statement. 17 next sentence says "Note that deliberately or not the |
18 Q. Okay. But it is a cost that the pharmacist 18 drug cost component of the payment has typically
19 has in connection with dispensing Medicaid drugs? | 19 offered a margin relative to acquisition cost." And
20 A. It's a cost the pharmacist has that’s in 20 again, that's true, correct?
21 addition to dispensing. And again, it may or may not 21 A. That is true.
22 be required or covered by a given third party program, | 22 Q. And I'm not trying to suggest it's by
Page 528 Page 530
1 whether it be a private insurer or Medicare or 1 design. But it was the state of affairs that that is
2 Medicaid. Some require it. Some cover it. Some say} 2 what you discovered had been happening in the market
3 it's fine did you if you do it, but it's not a covered 3. correct?
4 service. 4 MS. BROOKER: Objection, form.
5 Q. Is that service typically factored in when 5 A. That is at the point in time this study was
6 the states set dispensing fees under Medicaid? 6 done, 2004, what we discovered. And I would point out
7 A. No. 7 that in general it's a relatively unknown margin.
8 MS. BROOKER: Objection, form. 8 There is a margin, and there is some sense that it's
9 Q. But it still is a service they have to 9 there. But the exact quantity of that is not
10 provide? 10 typically known to third party or a Medicaid
1] A. No. They have to provide the OBRA ‘90 11 officials.
12 counseling that's in the dispensing fee. 12 Q. But the pharmacists know what that margin
13 Q. Right. 13 is?
14 A. The other Medicaid therapy management is | 14 A. They may know for their individual
15 not a service that pharmacies have to provide. It's 15 pharmacy. They may know.
16 not anormal -- it's an additional service that could 16 Q. And then you continue. You say "This may
17 be provided. But it's not always covered or paid for | 17 be appropriate since certain other costs (such as drug
18 by a third party program, including Medicaid or 18 inventory and storage, accounts receivable,
19 Medicare in all cases. 19 uncollectible claims and copays, and the cost of
20 Q. Even though it's not always covered or paid 20 capital) vary in proportion to the cost of the drug."
21 for, in your view is it a good pharmacy practice for| 21 Was that your view at the time?
22 the pharmacist to provide that service? 22 A. It was my view at the time, yes.

— —

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1 Q. Fine. Do they ask for any other data? 1 point me to that tells them what exactly they must

2 A. Again, that's all that Congress authorized 2 report, is there?

3. them to ask for. 3 MR. BREEN: Objection, form.

4 Q. So all this other information that you say | 4 A. It doesn't give a complete specificity of

5 that would be helpful to set prices they could have) 5 how you would define that. But | believe one could

6 asked for in this contract, but they didn't, right? | 6 give a plain meaning to generally and currently paid

7 MS. BROOKER: Objection, form. 7 by the provider. And I don't see that the prices

8 A. Well, again, the long-standing requests of 8 reported by manufacturers fall within that meaning.

9 the estimated acquisition cost -- the long-standing 9 Q. Is there a statute anywhere that tells a :
10 policy of estimated acquisition costs and the way in | 10 manufacturer that the manufacturer must report what i :
11 which it was implemented was still known and didn't} 11 generally and currently paid by the provider?
12 change over this time period. 12 MR. BREEN: Objection, form.

13 Q. Well, you keep saying the long-standing 13 A. I'd have to look back. I don't recall the
14 estimated acquisition cost policy. 14 derivation of that.
15 A. Yes. 15 Q. So you can't identify such a statute?
16 Q. While it's a policy, it's not a request or 16 A. I'd have to look back, yeah.
17 a directive in any ordinary English speaking sense] 17 Q. And you can't identify a regulation either?
18 directed to manufacturers to report particular 18 MR. BREEN: Objection, form.
19 information, is it? 19 A. I'd have to look back and see.
20 MR. BREEN: Objection, form. 20 MS. BROOKER: Can we take a break when you
21 A. It's the way in which Medicaid -- let's use 21 get a chance?
22 Medicaid as an example. Medicaid pays for 22 THE WITNESS: I have to go to the bathroom
Page 536 Page 538
| prescription drugs, is made very transparent, so that | again. :

2 parties whose products may be used by that Medicaid 2 MR. MERKL: Well, do you want to go to
3 program know how that payment will be made and they; 3 12:30 and then go to lunch?

4 know the factors that go into that payment as well as 4 MS. BROOKER: Yeah, I guess.

5 the policy objective that Medicaid has in making those | 5 MR. BREEN: It's up to the witness. Do you
6 payments. 6 need a break?

7 And by various actions they, without the 7 THE WITNESS: I need a restroom break at
8 government knowing so, can change the amount the 8 some point. I don't know if 12:30 is -- I can make it
9 government pays for a given product in a way that 9 quick.

10 causes the government to pay more than they would 10 MS. BROOKER: Just a quick restroom break.

11 otherwise if the policy was followed. II MR. MERKL: AIl right, fine. :
12 Q. Well, again, though -- you keep saying the 12 THE VIDEOGRAPHER: Off the record at 12:08.]
13 policy. There's no request or statute telling the 13 (Recess.) :
14 manufacturers precisely what to report anywhere, is| 14 THE VIDEOGRAPHER: On the record at 12:15.)
15 there -- 15 BY MR. MERKL:
16 MS. BROOKER: Objection, form. 16 Q. Could you take a look at the chart again?

17 Q. -- other than the AMP? 17 A. Sure.

18 A. I believe that manufacturers could report 18 Q. That's the chart on page 6. You havea

19 any price that's generally and currently paid by 19 rebate amount there. What does that signify?

20 providers in the market. That doesn't appear to be 20 A. This is the rebate amount that the

21 what's happened here. 21 pharmaceutical company has agreed to pay back to the

22 Q. But there's no statute or rule you can 22 Medicaid program for their products that are used in

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1 A. Well, the first sentence says "The brand 1 goes generic in most of the market generics are used.
2 price product usually does not compete.” So this is a 2 They're safe. The FDA reviews them and says they're
3. generalization, but it's not in all cases. 3. therapeutically equivalent to the brand referenced
4 Q. Okay. 4 product. They meet the same standards, the same
5 A. Sol wouldn't want to misrepresent that. 5 quality as the brand.
6 But the brand typically does not compete on price with 6 So generics are very safe. But in some
7 generics with their branded version of the product. 7 cases doctors either of their own volition or due to
8 They may enter with a generic version or an authorized 8 urging and marketing activities of drug companies will
9 generic that they compete in price. 9 specify brand medically necessary. And so there may
10 Q. Well, let me just back up. My 10 be cases where the drug company knows I can keep a
1] understanding based on testimony you've given in other; 11 small sector of the market who continues to use my
12 cases is that you've basically studied pricing 12 branded version of this product even though generics
13. patterns for 25 years, you look at AWPs reported, you | 13 are available. And if 1 say brand medically necessary
14 follow WACs and you look at all the drugs in the 14 the consumer doesn't have a choice regardless of what
15. market. True? 15 the price difference is.
16 A. Basically, yes. 16 Q. Well, did you observe whether or not that
17 Q. I'm not trying to suggest that's all you 17 happened with any of the drugs in this case,
18 do, but in your areas of expertise that's one of the 18 albuterol, cromolyn, ipratropium?
19 things you do, right? You observe pricing patterns. 19 A. Whether or not what happened? We talked
20 I guess my question is based on your observations 20 about a number of things that were happening there.
21 isn't is it fair to say that often, notwithstanding 21 Q. Well, | assume you observed that the
22 that you may have pretty fierce generic competition 22 transaction prices went down over time, right, for th
Page 568 Page 570 |
1 fora drug like albuterol or cromolyn that the brand 1 generics?
2. price might very well go up while the generic price 2 MS. BROOKER: Objection, form.
3 goes down; is that true? 3 A. Yes. That appears to be true.
4 A. Well, again, my general statement here is 4 Q. Did you take a look and compare them to th¢
5 that even though the generics compete in price the 5 trend in prices for the competing brands? :
6 brand does not. So the brand may stay the same. In 6 A. Again, for the opinions I've offered in my
7 some cases it may go up. 7 report that wasn't necessary.
8 Q. Why would that happen? Why would the brand) 8 Q. Okay. So you did not compare the Dey and /
9 be able to go up? 9 Roxane products with the prices of the competing
10 A. Well, again, the brand may have -- the 10 brands? That's outside the scope of what you were
11 pharmaceutical market is different than any other 11 asked to do?
12 market, consumer market, in that -- for a whole lot of 12 A. I probably have looked at that, but not in
13 reasons, one of which is that the patient must have a 13 the scope and not related to this report and I don't
14 permission slip from a doctor to get it. You can't 14 recall what was there as -- I actually have studied
15 simply walk in a pharmacy and say I'll have 50 Prozac 15 every brand product that's had generic competition
16 or l'll have 50 Lipitor. You have to have a 16 enter since 1980. And at some point in my career I've
17 prescription. 17 looked at the pattern that occurred with those. But I
18 The doctor in writing that prescription by 18 don't recall these specific products in this case.
19 law can specify a specific brand that is brand 19 And I didn't look at it in the context of this case :
20 medically necessary. If the doctor doesn't specify 20 because to my knowledge there's nothing expressed in /
21 the law allows the pharmacists to substitute a 21 my report that required that or that that was
22 generically equivalent product. So even when a drug 22 necessary for.

50 (Pages 567 to 570)

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1 for a pharmacy provider perspective. | comments they made about various aspects, including
2 Q. Well, if a generic is trying to enter the 2 some comments that they were getting killed on the
3 market and the brand has a better spread, the brand 3 spread some somebody else or needed to, you know --
4 might still be able to compete on price even though 4 they wanted to adjust their pricing because of that or
5 the generic's price may be lower, correct? 5 something.
6 MS. BROOKER: Objection, form. 6 Q. You saw evidence that Dey was getting hurt
7 A. One would have -- you know, one could 7 by its competitors on the spread? Is that what you
8 evaluate various scenarios that exist out there. 8 mean?
9 Q. But it could happen? 9 A. isaw comments of Dey personnel saying
10 A. I wasn't asked to assess that here and | 10 that.
11 would have to think through the elements of what would 11 Q. Well, let's go back, though. The Dey
12 be appropriate. And it's not something I'd attempt to 12 evidence on why the price was set the way it was at
13 design sitting here today. 13 the time it launched different drugs and the testimony
14 Q. Well, if for instance a Dey marketing 14 of the individuals who made the decisions, did you
15 executive or someone with knowledge from Dey came in) 15 read their testimony?
16 and explained that they looked at the existing brand 16 MS. BROOKER: Objection, form.
17 spread and saw that the brand would be able to compet 17 A. Again, whose testimony?
18 with them using the spreads subsidized by Medicaid 18 Q. I'm asking you to tell me. I'm not going
19 payments, is that a legitimate thing for those 19 to tell you.
20 officials to take into account when they set their 20 A. No. You asked me the question. I didn't
21 prices? 21 hear you question --
22 MS. BROOKER: Objection, form. 22 Q. Inoticed in your report you had a few
Page 576 Page 578
1 A. Is it legitimate? 1 launch documents, correct? :
2 Q. Yeah. 2 A. Okay. i
3 A, I think it's a factor they could take into 3 Q. Okay you understand what I said or okay I'm]
4 account, realizing that they run the risk of causing 4 correct? :
5 Medicaid to pay more than they might otherwise pay | 5 A. I cite in here reports from Dey that
6 that may lead to other issues legally or morally. 6 included launch documents, I believe.
7 Q. But if their price was lower in any case 7 Q. Allright. Now, my question is did you
8 Medicaid is still going to pay less than they're 8 review the testimony of the Dey people who were
9 paying for the brand, right? 9 actually working on the launch and making the
10 MS. BROOKER: Objection, form. 10 decisions?
1] A. I can't answer that without details of 11 MS. BROOKER: Objection, form.
12 prices in both cases, because it doesn't necessarily 12 A. | reviewed testimony I had available to me.
13 assure that it will be a lower price. 13 Q. Well, whose testimony did you review? Give |,
14 Q. Allright. Well, did you examine the Dey | 14 me the names of the individuals that discussed the :
15 review of these manufacturer processing and things 15 different launches of the Dey products. Tell me whos
16 like that? 16 testimony you reviewed.
17 A. Manufacturer what? 17 A. Sitting here I can't tell you all of that.
18 Q. Did you examine the decision-making of the 18 Q. Idon't see their names in your report.
19 Dey people? 19 Did you list their names in the report?
20 A. I did read -- 20 MS. BROOKER: Objection, form.
21 MS. BROOKER: Objection, form. 21 A. I don't know if their names are listed in
22 A. I did read testimony of Dey personnel and 22 the report.

52 (Pages 575 to 578)

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1 Q. Did you make notes of what they said? 1 A. That's an over-simplification, but yes.

2 A. I did not take notes, no. 2 Q. Okay. And as you sit here today you cannot

3 Q. Okay. Well, then as best you can tell me 3 tell me the names of the persons whose testimony you

4 the sum and substance of the Dey testimony that you | 4 relied on?

5 reviewed that discussed why the different price points | 5 MS. BROOKER: Objection, form.

6 were selected. 6 A. Not from memory. I list in the disclosure

7 A. I recall one or two things in my report 7 testimonies that I had available to me and reviewed.

8 that describe that that I could refer to. 8 Q. Okay. Well, if we showed the names of the

9 Q. I'm not talking about the documents. I 9 people in the disclosures would you be able to go

10 understand you've cited documents. I'm specifically | 10 through and tell me what each of them said about the

11 asking about the testimony you read, what people said] 11 launch of each Dey product? Do you think your memory
12 Tell me as best you can what testimony you recall 12 is that good? :
13. where the Dey pricing was set. And start with telling | 13 A. No. I can't repeat verbatim deposition

14 me whose if was. 14 testimonies. | don't memorize things at that level.

15 A. 1don't recall the details of the 15 Q. Well, not verbatim, but the sum and

16 depositions without looking back at them. I read 16 substance of what they said.

17 hundreds of thousands of pages in this over all these 17 A. I probably can't quote it at that level

18 three cases the last year. And I can't sit here and 18 either.

19 quote back to you the specifics. 19 Q. Would you even be able to tell me which
20 Q. Well, you didn't make any notes either, did 20 official was involved in which product?
21 you? 21 A. could line that up. Given time | could
22 A. 1 don't make notes typically. I pull 22 go through and organize that.

Page 580 Page $82

1 together the documents, review them at a specific ! Q. But you'd have to go back to the

2 point in time, assimilate and write the report. And 2 transcripts to do that, right?

3 then I set aside those documents and move on to 3 A. I'd have to go back to the source I used

4 another project where I review similar large amounts 4 the first time to determine that. But again, 1 doa

5 of data. 5 project, I analyze it carefully and drew conclusions

6 Q. So when you sat down to formulate your 6 and reported those and then set those aside and moved

7 opinions about Dey's pricing you didn't have access to) 7 ontoa number of other projects.

8 any notes you made of Dey testimony, correct? 8 Q. You mentioned there was another Dey case.

9 A. Thad access to Dey testimony. I don't 9 Can you tell me how many Dey transcripts you read?
10 make notes. 10 A. I don't recall off the top of my head, no.
i] Q. Well, you had stacks of the I guess II Q. Did you read any transcripts of any Roxane
12 transcripts stacked up? You had that? 12 people?
13 A. Yes. 13 A. I did read Roxane transcripts, yes.
14 Q. But you didn't make any notes, right? 14 Q. How many of them did you read?
15 A. You've asked that several times. I don't 15 A. I don't recall.
16 make notes. 16 Q. Can you give me the name of a single :
17 Q. You didn't highlight the transcripts or put 17 witness from either Dey or Roxane that you remember :
18  Post-Its in there or anything like that? 18 that you read the transcript of? :
19 A. I typically don't, no. 19 A. They would be ones listed in the disclosure
20 Q. So basically you read this stuff, you came 20 again.
21 to your conclusion and you put it in your report, 21 Q. You spent 40 to 70 hours planning for the
22 right? 22 deposition today and you still can't remember the nam

a

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1 true and | wanted to clarify that. 1 AFTERNOON SESSION
2 Q. What made you want to read Ms. Selenati's | 2 (2:05 p.m.)
3 deposition? 3 +e eR

4 A. 1 believe I had seen their names in other 4 Whereupon,
5 documents that related to the case that appeared to be 5 STEPHEN W. SCHONDELMEYER, PHARM.D., PH.D., |
6 useful and important documents in terms of 6 the witness testifying at the time of :
7 understanding what was going on. 7 recess, having been previously duly sworn,
8 Q. So you were reading the depositions of 8 was further examined and testified as
9 everyone whose name was on a document or just somd 9 follows.

10 or -- 10 x ok € OF
1] MS. BROOKER: Objection, form. ll EXAMINATION RESUMED BY COUNSEL FOR DEY,
12 Q. -- how did you go about making that cut? 12 INC., DEY, L.P. AND MYLAN

13 A. Again, [had documents in the case from 13 THE VIDEOGRAPHER: This is the beginning of

14 Dey, corporate documents internally. 14 tape 3 in the deposition of Dr. Schondelmeyer. On the

15 Q. Where did you get those? 15 record at 2:05.

16 A. These were individual -- those were also 16 BY MR. MERKL:

17 posted on the website of documents related to this 17 Q. When last we left you were alone with your

18 case that were produced and that have been disclosed 18 computer and 3 million Dey documents.

19 to you. 19 MR. BREEN: 3,000,040, I think.

20 Q. Right. And how did you select those 16 20 MR. MERKL: 3,000,040.

21 documents or 18 documents that are in your report? | 21! BY MR. MERKL:

22 A. Well, first I didn't select those 16 or 18. 22 Q. Now, I believe 18 documents make it to your

Page 588 Page 590 :

| Q. Okay. 1 report; is that correct? :
2 A. J asked for documents from the lawyers in 2 A. I didn't count them. | can't tell you how

3 the indication for documents related to marketing, to 3 many it is.

4 reimbursement, documents related to pricing. 4 Q. Well, how did you get from 3 million
5 Q. Let me -- we have 3.3 million pages of 5 documents to the documents that are in your report}
6 documents produced in this case. It's fair to say you} 6 What did you do? :
7 didn't look at all those, right? 7 A. I'm not sure the 3 million had been fully
8 MS. BROOKER: Objection, form. 8 disclosed to me either and | didn't ask to nor want to

9 Q. True? 9 nor expect to read all of those. | did ask for

10 A. It would be fair to say I didn't look at 10 documents, documents related to marketing, related to

11 3.X million documents. II pricing, related to reimbursement, third party

12 MR. MERKL: The tape is out. We've got to 12 reimbursement and things that incorporated any of

13 stop. 13 those aspects in other documents such as sales or

14 THE VIDEOGRAPHER: This is the end of tape} 14 _ training or other aspects that might have addressed

15 2. Off the record at 1:05. 15 reimbursement or marketing, pricing issues.

16 (Whereupon, at 1:05 p.m. a lunch recess was 16 Q. Well, did you have access to the complete

17 taken.) 17 Dey document database?

18 18 A. If} could have -- I could have requested

19 19 that. I felt -- nobody told me I couldn't have.

20 20 Q. Did you do that?

21 21 A. No, I did not, because I didn't plan on

22 22 reading 3 million pages.

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1 A. I did not. | single Dey marketing document?
2 MS. BROOKER: Objection. Dr. Perri. 2 A. | didn't word it exactly that way.
3 A. I did not have any discussion with Dr. 3 Q. How did you word it?
4 Perri in relation to this case. 4 A. I would like to see documents related to
5 Q. Were either Drs. Perri or Duggan present 5 marketing, documents related to reimbursement,
6 while you were discussing your role in the case with 6 documents related to pricing and documents related to]
7 the Justice Department team? 7 sales and training that addressed marketing and
8 A. No. 8 pricing issues.
9 Q. And it's in one of these meetings that the 9 Q. So you're the expert retained by --
10 subject of which documents to look at came up at? 10 A. Sol asked like is there a marketing plan,
Wl MS. BROOKER: Objection, form. 11 are there product launch plans, is there a pricing
12 A. Early on in the case at a meeting reviewing 12 grid, is there either a business development report or |
13 the case reviewing their complaint I did ask for 13 document, are there product -- oh, sometimes you call}
14 documents and they produced those. As I worked on and 14 them product profiles, product status reports, annual |
15 had additional interests in other documents I would 15 reports on various products and related documents of |
16 relay a communication if there were things | wanted to 16 that type as well.
17 see. They would identify those if they existed within 17 Q. So you asked for all that stuff?
18 the documents that had been produced. 18 A. Lasked for documents of that type, yes.
19 Q. Well, let's start at this first meeting 19 Q. Okay. Did you ask for it for the entire
20 where you told me you asked for marketing documents, | 20 period of time from 1992 to 2007?
21 pricing documents, third party reimbursement documents 2] A. Yes.
22 and some sales and training things. You asked for 22 Q. Okay.
Page 596 Page 598
| those at the outset? 1 A. In terms of what was available. I, again,
2 A. Sales and training things related to 2 didn't know all of what had been produced.
3. reimbursement or pricing and marketing of those. 3 Q. And sticking with the marketing stuff, when
4 Q. What individual did you ask for those 4 you asked for marketing plans did you say though you
5 documents? Who specifically did you ask to give them| 5 wanted all the marketing plans, all the pricing grids
6 to you? 6 or all the development documents, or did you just
7 A. I think it was in the room with the three 7 leave it to counsel to decide which ones you would
8 lawyers and I left it up to whoever among the lawyers 8 get?
9 had control or access to the documents that had been 9 A. I believe I asked for marketing documents
10 produced. 10 ina broad sense.
i] Q. What exactly did you tell them you wanted 1] Q. When you say in a broad sense, what do you
12 with respect to marketing documents? 12 mean? Did you ask for all the marketing documents fo
13 A. I think basically what I've told you is the 13 each drug for a 15-year period or didn't you?
14 nature of what I described that I wanted. 14 A. I said I would like marketing documents
15 Q. No. I mean, did you say, look, I need to 15 over the time period involved in the case.
16 see every single Dey marketing document for the drugs 16 Q. Well, did you get marketing documents for
17 in the case or did you say I want to see the marketing |17 each of the three drugs for a 15-year period?
18 the spread documents or what kind of marketing 18 A. I got some that appeared to be to be across
19 documents did you ask them for? 19 that period. I'm not sure that there existed
20 A. I think it was a fairly broad request. It 20 documents for each and every year for each and every
21 wasn't overly specific. 21 drug during that time period because the products
22 Q. Well, how broad? Did you ask to see every 22 weren't all on the market during that entire time

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1 period. So -- 1 A. TLasked about testimony of people involved :
2 Q. You're telling me albuterol wasn't on the 2 in the documents that were produced that we had. And
3. market from 1992 to -- 3 I believe I had depositions for most of the people
4 A. Cromolyn, ipratropium were not. 4 that were involved with the documents produced from my
5 Q. They weren't? 5 earlier requests. i
6 A. From 1992. I don't believe so. I'm not 6 Q. But you didn't read them all, did you?
7 sure. 7 A. Didn't read all of what?
8 Q. How about from '95 onward? 8 Q. All of the depositions, did you?
9 A. They were launch products. 9 A. I didn't read all of the depositions taken

10 MR. BREEN: Excuse me. I'm having ahard | 10 in the case.

11 time following again. You guys are starting to talk 11 Q. Which ones did you read?

12 over each other. So I'd request that the witness 12 A. Well, I told you earlier I can't remember

13 allow a question to be asked and then answer it so 13. all that Tread. We went through some. Mark Pope.

14 that we can get a thought in or an objection in 14 Helen Selenati. | remember reading some from Charles

15 edgewise. I'd appreciate that. Thank you. 15 Rice. I'd have to look back --

16 BY MR. MERKL: 16 Q. Tell me --

17 Q. So to go back to these marketing documents] 17 A. Can I finish my answer?

18 how do you know that you got all the marketing 18 Q. Go ahead.

19 documents that are relevant to your opinion? 19 A. You're jumping in before I finish my

20 A. Tasked for marketing documents as I've 20 answer.

21 described to you several times this morning. And I 21 I mentioned Robert Mozak. | read documents

22 described that, asked the lawyers to provide that and |22 from him. Maybe Ross Uhl.

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1 Lassume that they did so. 1 Q. Maybe or are you sure?
2 Q. So you're relying on the lawyers to pick 2 A. Idon't remember. I'd have to go back and
3 the documents for you to review? 3 look. I remember the name Ross Uhl. I had those

4 A. That's not a true statement. | did direct 4 documents. | probably read portions of those. And I
5 them the types of information I wanted and | did 5 don't remember without looking back how much I would :
6 assume that they would do that respectfully and within] 6 have read of that.
7 the context of my request. 7 Q. Now having refreshed your --
8 Q. But you don't know if they really gave you | 8 A. I'm not finished.

9 all the relevant Dey marketing documents, do you? | 9 Q. Okay. Have you got some more?

10 MS. BROOKER: Objection, form. 10 A. Those are the ones I recall now, but again,

1 A. I did not review all of the, whatever it 11 I wouldn't say that's all that | read. These are the

12 is, 3 million pages that existed. 12 ones that I recall sitting here today thinking back

13 Q. What did you do to make sure that you got | 13 about what I've read over the last six months.

14 all the documents for marketing? 14 Q. And what was the sum and substance of their |

15 A. [asked for the documents as | described to 15 testimony concerning the Dey marketing plans?
16 you. I assume and expect that those lawyers complied | 16 MS. BROOKER: Objection, form.

17 with what I asked and | used those documents. There | 17 MR. BREEN: Objection, form.

18 were occasions where I would ask is there a document | 18 A. My report describes the elements that I

19 about X or Y and if it was they would find that and 19 thought were relevant to my opinions and I've

20 produce it. 20 documented those in my report and we could refer to

21 Q. Did you ask them for any testimony of 21 those. If you have a specific point you want to refer

22 people explaining the documents? 22 to I'd be glad to discuss that.

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Q. I don't see any testimony quoted in your
report. I see some documents. My question is apart
from the documents that I can see in your report what
testimony did you refer to to come to your
conclusions --

MS. BROOKER: Objection, form.

Q. -- if any?

A. Well, I think it was helpful to read the
depositions of the individuals involved. | think the
documents themselves in the way they were quoted in my
report were sufficient to make the opinions that I've
arrived at.

Q. What did Mr. Pope say about the Dey
marketing plans?

A. I don't remember specifically what was in
those depositions, all that I read, as I've said.

Q. What did Mr. Mozak say about the albuterol
product launch?

A. I'd have to go back and look. I don't
recall.

Q. Okay. Can you tell me specifically what
any of these witnesses said about the spread?

‘kk tk kth
CO TD PWN DOO TM AINA mH BW be

NN Ww
Nom ©

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sales material did you ask for? What exactly? /
MR. BREEN: Objection, form.

A. Again, | believe I've told you the nature
of how I requested this earlier.

Q. Now. You've told me how, I agree, and
you've told me what marketing material you asked fo
Now I would like to turn to the sales material. What
sales material did you ask for?

A. Sales material that involved addressing
price and the spread.

Q. What does that mean? Did you ask for sales
statistics by quarter? Did you ask for complete sales
reports for all the drugs? Did you ask sales reports
that only talk about marketing the spread? Which is
it?

MS. BROOKER: Objection, form.
MR. BREEN: Objection, form.
A. Well, I didn't ask in those same ways. |
asked in a broad sense. In my mind sales material
that contains information related to price or the
spread or sales and training material includes those,
would encompass everything that you asked, and that's

= Soeur Ana wD =

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MS. BROOKER: Objection, form.

A. I don't recall specifics as we sit here
today, as I've said. | did read through parts of all
of those depositions. I did read through documents.

] feel that everything in my report shows a basis for
that within the report itself. And the positions in

my report refer to Dey documents when appropriate and
that was all that was necessary to arrive at the
conclusions that I did.

Q. Well, which witness' testimony did you
consider in arriving at your conclusion that Dey
inflated prices? Which witness' testimony supports
that conclusion?

MR. BREEN: Objection, form.

A. Well, | didn't say that any of these were
based on witness' testimony necessarily. It may or
may not have been. I'd be glad to -- show me where I
say that in my report.

Q. Well, you don't say you relied on a
witness. That's my question.

MR. BREEN: Objection, form.
Q. Okay. Now, you say sales. What kind of

Oo CO sD tA te WN

DBR eh ttt kd ht
No DO MINA Bw Ne Oo

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what I expected. :

Q. Did you ask to see sales documents that

showed that no one was marketing the spread? Did you :

ask for that? :
MR. BREEN: Objection, form.

A. I don't understand your question.

Q. Did you ask them to show you any documents =|
that showed Dey was not marketing the spread? Did yo /
ask them to give you those kinds of documents? :

MR. BREEN: Objection, form.

A. lasked for documents that involved prices
or the spread or discussions of those with respect to
marketing, sales training, If they had documents that
showed that they weren't doing so that would have been
produced also.

Q. Well, how do you know they would have given
you them?

MR. BREEN: Objection, form.

Q. Let me withdraw the question. What did you
do to make sure that they had given you all the sales
documents?

MS. BROOKER: Objection, form.

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I A. I've described what I asked for and how I 1 MR. BREEN: Objection, form. :
2 asked for it in general. And I described that I did 2 A. I don't understand what you're asking.
3 assume a measure of trust that the lawyers would give | 3 Q. Okay. Vl try it again.
4 me the documents that fit within the scope of what I 4 A. I've described what I asked. I was aware
5 asked. And I did not assess all 3 million documents 5 that there were far more documents than I could read
6 to make sure they didn't leave one out. 6 orscreen or be aware of. I asked for types of
7 Q. Did you review any document indices? 7 documents and I received those. | felt like the
8 A. No. I did not ask for that. I did not 8 production that I got contained the types of documents |,
9 review that. 9 that I would have expected to see. And I reviewed :
10 Q. Did you review any sets of files, for 10 those and used among those the ones that were relevant :
11 instance, all the files from the marketing departmen{ 11! to the opinions that 1 formed. And | cited specific
12 or the sales department? 12 ones in the report that | relied upon.
13 MS. BROOKER: Objection, form. 13 Q. You have a Ph.D.?
14 A. No. I did not ask for that or review that. 14 A. Yes, Ido.
15 Q. Well, you're a scholar, right? You 15 Q. And are there any scholarly standards for
16 consider yourself a scholar? This is your area of 16 writings and things that you have to follow as a
17 expertise? 17 Ph.D.?
18 MS. BROOKER: Objection, form. 18 A. I've never seen anything published of that
19 MR. BREEN: Objection, form. 19 nature, no.
20 Q. Am Icorrect? 20 Q. Well, are there professional standards that |
21 A. What is your question? 21 a fellow scholar would expect you to follow in a peer]
22 Q. You're a scholar, correct? 22 reviewed work or something of that nature?
Page 608 Page 610 |
1 A. I'ma scholar, yes. 1 A. I do peer reviewed work and evaluate things
2 Q. Asa scholar when you're evaluating 2 based on my knowledge and experience and background.
3. evidence in your research isn't it part of your 3 And that's what | applied in this case.
4 discipline to check things that people tell you? 4 Q. Well, I'm asking which of those standards
5 A. Itis. And 1 felt -- within the domain of 5 in terms of checking data did you apply in this case?
6 the area that I work in in terms of pharmaceutical 6 How did you check your data?
7 prices and documents, I do that. |! know how todo | 7 A. I believe I've been asked that and answered
8 that very well. I used the usual care that I use. 8 that several times now. I would be glad to repeat the
9 I've been an expert about 60 times now in cases and | 9 same answer.
10 I've used the same process in getting documents in | 10 Q. Well, you told me how you got your
11 arriving at conclusions in this case as I do in other 11 documents. You didn't tell me how you checked to make
12 cases. 12 sure that you got all of the relevant documents.
13 And I feel it's been done in an appropriate 13 MS. BROOKER: Objection, form.
14 way and in a way that is sufficient to arrive at the 14 Q. What did you check to make sure that your
15 conclusions in the reports that | developed. And I've] 15 attorneys gave you everything relevant?
16 used a similar process here and | feel like it was 16 MS. BROOKER: Objection, form.
17 done ina scholarly way. 17 A. 1 believe I've been asked that and answered
18 Q. So you're using your usual expert witness | 18 that. I'd be glad to repeat the same answers.
19 standard? Is that what you mean? 19 Q. When you asked for the documents had you
20 MR. BREEN: Objection, form. 20 read the complaint?
21 Q. You're testifying expert witness standard?| 2! A. I believe I had, yes.
22 That's the standard used here? 22 Q. Okay. So you knew that the government and

60 (Pages 607 to 610)

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1 the people who retained you were suing the | ask a litigant from one side to pick the only evidence
2 manufacturer for a lot of money? 2 he's going to rely on?
3 MS. BROOKER: Objection, form. 3 MS. BROOKER: Objection, form.
4 A. I don't know what you mean by "a lot of 4 A. You've mischaracterized what happened. |
5 money." | knew that there was an allegation and a 5 didn't ask them to pick the only evidence I relied
6 complaint. 6 upon. There were things | brought to this that are
7 Q. You read the complaint, right? 7 cited to my report that I brought to the table that
8 A. Yes. 8 they didn't. So [ did bring in other information and
9 Q. Didn't you think that the government was 9 evidence that didn't come through that. You've
10 suing for millions of dollars? 10 mischaracterized what I've been describing.
11 A. I didn't attempt to do a quantitative 1] Q. What evidence did you bring in that relate
12 assessment at that point. 12 directly to the conduct of Dey and Roxane?
13 Q. I'm not asking you if you did a 13 A. Related to my report, the broad conduct of
14 quantitative assessment. I'm asking you as even a 14 the marketplace, | brought in things such as the NPC
15 layperson, having read that complaint did you get the) 15 Medicaid books.
16 impression that the government was suing for millions 16 Q. No. That's not my question.
17 of dollars? 17 MS. BROOKER: Objection, form.
18 MS. BROOKER: Objection, form. 18 A. In my report there are documents in my
19 A. Tread the complaint and took it at face 19 report that speak to the government's statutes and
20 value and realized it was a dispute between the 20 policies and regulations of Medicaid that I consider
21 government and a drug company over issues relating to | 21 to be evidence in this case.
22 price reporting in the marketplace. 22 Q. My question is limited to the conduct you
Page 612 Page 614
1 Q. Did you think it was a big case? | ascribed to Dey and Roxane. All the evidence you base
2 MS. BROOKER: Objection, form. 2 your conclusions against Dey and Roxane, all the
3 A. Big by what standard? Not -- I've had 3 documents that you cite in your report, were basically
4 other cases that have been billions of dollars. It 4 documents cherry picked out by counsel for Plaintiff
5 didn't seem to reach that standard. But | -- it's 5 and given to you, correct?
6 millions? Perhaps. I didn't think in dollar terms 6 MS. BROOKER: Objection, form.
7 what's the value of this. 1 look at what are the 7 A. I don't view them as cherry picked. |
8 issues and are the issues and expertise that J have -- 8 asked categories of broad categories and I would
9 is my expertise such that I could help provide 9 occasionally ask is there anything else in this area
10 information to the judge or jury that might be useful 10 ornot. And they would provide those if there was
11 in this case. 11 such.
12 Q. You realize the government is an interested 12 Q. So you would basically ask for a -- you :
13 party in the case, correct? 13 would say give me all the marketing documents and you.
14 A. Yes. They're a named plaintiff. 14 leave it to Mr. Breen and his colleagues to pick out
15 Q. So don't you think it somewhat unreasonable | 15 which ones you should look at?
16 for an expert who's supposed to -- do you believe 16 MS. BROOKER: Objection, form.
17 you're supposed to give an objective opinion? 17 Q. That's what happened?
18 MS. BROOKER: Objection, form. 18 A. lasked for a broad set of documents, as
19 A. I do give an objective and independent 19 I've described. I've been asked that and answered it
20 opinion, yes. 20 several times. I'd be glad to repeat what I've been
21 Q. Well, do you think it's reasonable for 21 saying.
22 someone charged with forming an objective opinion tq 22 Q. Why is it your report doesn't refer to any

Se

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| documents prepared after 2000? 1 Q. Is it your opinion Dey was marketing the
2 A. What do you mean? 2 spread after 2000?

3 Q. Your document, when you talk about Dey's 3 A. I need to review -- refer to my report. I

4 conduct, you don't really reference any documents from) 4 don't remember everything that I've got in my report

5 Dey after the year 2000. Why is that? 5 at this point.

6 A. I don't know. I feel like the documents 6 Q. So as you sit here today you don't know

7 referred to represent and support the opinions I've 7 whether if it's your opinion whether Dey marketed th

8 offered and do so appropriately. 8 spread after 2000? You can't answer that without

9 Q. Well, what evidence did you refer to that 9 reading your report?

10 you can tell me you looked at that inform your 10 A. I can answer that my report as I have

11 opinions as to what Dey was doing during the years, 11 prepared is my opinion. It represents those opinions

12 say, 2001 through 2006? What evidence are you basing| 12 and I can't quote to you verbatim the details of this.

13 those conclusions on? 13 But I'd be glad to review any section of this you want

14 MR. BREEN: Objection, form. 14 to talk about.

15 A. Again, if you could show me in my report 15 Q. Well, you spent between 40 to 70 hours

16 where I refer to something that reflects Dey's conduct 16 preparing for your deposition here today and am I

17 between 2001 and the present, I would be glad to 17 correct that you can't tell me whether or not you :
18 review that and attempt to answer your question. 18 conclude Dey marketed the spread after the year 2000? /
19 Q. F'msorry. I thought your opinion as to 19 MR. BREEN: Objection, form.
20 Dey's conduct was from '92 to the present. If you're 20 A. Ican't tell you sitting here today. I
21 telling me what Dey did after 2001 is outside the 21 reviewed a number of documents, most of those were the :
22 scope of your report, then we have nothing more to 22 broad spectrum of documents involved with Abbott, Dey, |

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1 talk about. I'll move on. 1 Roxane and Medicaid and Medicare. A wide variety of = |
2 MS. BROOKER: Objection, form. 2 documents to review.

3 A. No. I'm not telling you that. You've 3 Q. Now, your report addresses the launch of
4  mischaracterized it. There are aspects of my report 4 some Dey drugs, albuterol, cromolyn and ipratropium.
5 that talk about Medicaid and various things that 5 Do you recall that part of your report?
6 encompass the entire time period. And | refer to 6 A. Ido, yes.
7 documents -- 7 Q. Allright. Now, after launch, right, say
8 Q. No. We're just talking about Dey now. 8 six months after launch, can you tell me what evidence
9 A. The Dey -- may I finish? May I finish? 9 you looked at to see how Dey marketed or sold its
10 Q. Go ahead. 10 products six months after the launch of each of those
1] A. The Dey section -- there is a section on 11 preducts?
12 here about Dey conduct and it reports the information 12 A. There may have been -- I don’t recall
13 on Dey conduct that | felt was relevant to the report 13. specifically what I looked at. I'd have to look back.
14 and what I was asked to address in this report and 14 There may have been comments from various of the
15 I've addressed those things. And I feel like the 15 people in the depositions related to that.
16 documents cited were sufficient to support that. 16 Q. Now, did you review Dey's WACs for all its
17 Q. Let me try it this way. What conduct did 17 products that are at issue in this case? That would
18 you conclude that Dey engaged in after the year 20009 18 be ipratropium, albuterol and cromolyn. Did you
19 MS. BROOKER: Objection, form. 19 review Dey's reported WACs for all those products fro
20 A. I would have to refer to my report and we 20 1992 to 2005?
21 can review sections of that. You're welcome to ask me | 21 A. Well, there was a period in which I think
22 questions about statements in my report. 22 Dey quit reporting WACs.

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1 MR. MERKL: Would you read the question 1 inflated?

2 back, please? 2 MS. BROOKER: Objection, form.

3 (Whereupon, the requested portion was read 3 A. Again, I don't want to give you a new

4 by the reporter.) 4 opinion above and beyond what I've analyzed and

5 BY MR. MERKL: 5 provided in this report. If you want to point me to a

6 Q. Did you? 6 statement in here I'd be glad to look at and explain

7 A. I did at the time | prepared my report, 7 what that means and document it.

8 yes. 8 Q. You've supposedly done all this work.

9 Q. How long ago was that that you reviewed 9 You've spent 40 to 70 hours preparing for your
10 those? 10 depositions this week, you wrote a 100 page report and |
11 A. Idon't recall. I'd have to -- 11 you can't tell me whether or not Dey's WACs went up o¥
12 Q. So it might have been a year since you've 12 down during the period at issue in this case?
13 looked at what Dey's WACs were? 13 MS. BROOKER: Objection, form.

14 A. I don't believe a year. 14 MR. BREEN: Objection, form.
15 Q. Six months? 15 A. Ican tell you my opinions are documented
16 A. Six months could be. 16 in the 100 page report I've written and I'd be glad to
17 Q. Now, Dey's WACs -- let's start with 17 address any statement or opinion in that report that |
18 albuterol. After the initial launch did Dey's WAC gq 18 carefully developed and considered after reviewing
19 up or did it go down for its albuterol products? 19 documents and data and other materials.
20 MR. BREEN: Objection, form. 20 Q. Is it your opinion Dey's WACs were
21 A. Again, I can't quote to you the detail of 21 inflated?
22 that. I didn't go back and review that -- 22 MS. BROOKER: Objection, form.
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I Q. So as you sit here today -- 1 A. I don't want to form that new opinion as we

2 A. -- in preparing for today. I did review 2 sit here today. My opinions are stated in my report |

3 all of that in preparing my report. To the degree 3 and if you could show me where I've made a statement

4 that there were relevant aspects from those 4 to that effects I'd be glad to --

S observations and analysis, | included that in my § Q. Sir, you're the expert. You reviewed this

6 report. I'd be glad -- if you want to point me to a 6 and I'm asking you did Dey inflate its WACs --

7 specific position or opinion I made in my report I'd 7 MS. BROOKER: Objection, form.

8 be glad to address that. 8 Q.  -- in your opinion?

9 Q. Well, is it your opinion that Dey was 9 A. My opinion is stated fully in my report
10 marketing the spread? Is that your opinion? 10 with all the appropriate qualifications. And J] would
11 MS. BROOKER: Objection, form. 11 ask that you read that or refer to a statement in
12 A. My opinions are stated in my report and | 12 there.

13 would refer to that report for my opinions. 13 Q. Why don't you take a look at your report

14 Q. Without looking at the report can you tell 14 now and see if based on your report you're able to
15 me is it your opinion Dey was marketing the spread] 15 tell me whether or not Dey inflated its WACs.

16 MS. BROOKER: Objection, form. 16 A. I'd be glad to review the sections that

17 A. I won't give you an off the cuff opinion. 17 specifically talk to Dey's conduct, if that's what

18 My opinions are stated and appropriately qualified in | 18 you're asking.

19 my report. And I'd refer you to that and be glad to 19 Q. No. What I'm asking is what I said. If
20 address any statement in here you'd like me to 20 you'd like the question read back, he'll read it back]
21 explain. 21 A. Sure.

22 Q. Is it your opinion Dey's WACs were 22 (Whereupon, the requested portion was read

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| by the reporter.) ] MS. BROOKER: Objection, form.

2 BY MR. MERKL: 2 A. Again, | would refer to my report and want

3 Q. In your opinion. 3 to review the document.

4 MS. BROOKER: Same objection. 4 Q. So you can't tell me without reading the

5 A. (Reading). | have quickly reviewed 5 report?

6 statements in my report. | believe there are actions 6 A. My opinions are stated in my report. I'm

7 of Dey as evidence the from documents within Dey that} 7 not going to create new opinions as we sit here today.

8 show that there was a spread that was set and that was | 8 I'd be glad to review any opinion in here and have you

9 marketed. 9 ask me questions about the specific statements in my

10 Q. That's not my question. My question is is 10 report.

11 it your opinion that Dey inflated its WACs? II Q. So you're incapable of telling the jury
12 MS. BROOKER: Objection, form. 12. what your opinions are without reading them off you :
13 A. Again, you're asking me to formulate a new 13 report? :
14 opinion. I would -- 14 MS. BROOKER: Objection, form.

15 Q. No. If that's not your opinion tell me. 15 A. I'm not willing to formulate new opinion as

16 A. [haven't analyzed that thoroughly and 1 16 we sit here. I'm quite capable of telling the jury my

17 will not do so sitting here. I will respond to 17 opinions that I've taken great time and care to craft

18  staternents that I've already analyzed and carefully 18 based on evidence and information in the case and to

19 developed and documented in my report that address 19 document in a hundred page report. And I spent time
20 that issue. 20 to include all of the things that I felt were relevant
21 Q. So you don't know if Dey inflated its WACs?| 21 to what I was asked to do and documented them in here. |
22 MS. BROOKER: Objection, form. 22 And I'm quite capable of addressing that with the jury

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| A. That's not what I said. I said I won't | and I would be happy to do so.

2 form a new opinion. | would be glad to read or rely 2 But I'm not going to sit here and formulate

3 upon or say that the opinions stated in this report 3. new opinions with one-off quick questions from you

4 are my opinion with respect to Dey and the WACs it set] 4 that aren't directly tied to opinions I've put forward

5 and the degree to which it related to their actual 5 in my report.

6 acquisition price. 6 Q. Did Dey inflate its AWP for its albuterol,

7 Q. Well, what is your opinion of the Dey WAC | 7 cromolyn or ipratropium products? Did you form a

8 and how it related to its acquisition price? 8 opinion on that one way or the other?

9 MS. BROOKER: Objection, form. 9 A. If you will permit me a minute I'll find a

10 A. I don't see that I have a statement that 10 few things in the report that do relate to that.

1] addresses that specifically. There are many 11 There was -- related to cromolyn, Dey
12 statements that -- 12 marketed cromolyn and then it was noted in a document }
13 Q. Did Dey -- 13. that Dey did increase the reimbursement spread for
14 MR. BREEN: Whoa. Counsel, please stop 14 cromolyn. There was a memo regarding cromolyn sales
15 interrupting the witness. 15 update that was provided by Mr. Robert Mozak to
16 A. There are many statements that do talk 16 Charles Rice, the CEO of Dey.

17 about Dey AWPs in relation to the actual acquisition 17 And in that memo Mr. Mozak says, and I

18 cost or in relationship to a spread that I think 18 quote "After five months of marketing of cromolyn,

19 address a similar issue. And there are many 19 marketing has conducted extensive analyses to
20 statements in here about that. 20 determine the sales status of cromolyn to date.’ In
21 Q. Did Roxane in your opinion inflate its 21 response to that analysis program adjustments were :
22 WACs? 22 recommended, including ‘Price modifications have been

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I think Medicaid expects that the companies would
report those discounts so that Medicaid can take those
into account in their payment policy.

Q. Now, in your report did you see any
evidence of Dey discussing the spread with customers4

A. Again, I'd have to look back through my
statements and see that. I'd have to look back and
see.

Q. So without reading the whole report you
can't answer that question?

A. I'd need to reread the statements I made
with respect to Dey and their conduct in terms of
pricing. Again, I didn't commit that to memory.

Q. By the way, am I correct that the portion
of your report dealing with Dey is -- where is that?

A. Well, the primary portion is in -- like

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price was inflated?

A. It's my intention to convey exactly what
the sentence says, that Roxane and Dey reported prices
to their commercial drug price database that were
inflated in relation to the actual drug prices. The
ones that were reported were inflated in relation to
actual drug price.

Q. Which Dey and Roxane WACs were inflated
Which products?

A. Well, again, that's stated in my reports
where I discuss the specific conduct of Dey and the
section where I discuss the specific conduct --

Q. Point it out to me.

A. -- of Roxane.

Q. Idon't see it. Point it out.

A. Well, first of all we need to clarify this

RAA RODD SOM AANA wWNH =

page 51 to 57. states "inflated in relation to actual drug prices."

mmm maa tbh th lft
Oe A A SB WN ODO Mr AWA A PWN —

Q. So it's six pages on Dey that you're having 18 And that can occur by moving the WAC or AWP up. Or}

trouble recalling? 19 inflation can also occur by lowering the actual price

20 A. Six pages specifically on Dey, yes. 20 and keeping the AWP or WAC at the same level. Either |

21 Q. Let's go to the end of your report. Okay. 21 of those would be inflated by my definition and by the |
22 Paragraph 212. Do you see there it says "Roxane and] 22 meaning of my statement here.

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Dey reported prices to the commercial drug price
databases that were inflated in relation to actual
drug prices"?

A. Isee that statement, yes.

Q. Do you see that? What evidence do you have
in this report that Dey's WAC was inflated in relation
to actual drug prices?

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Q. Show me the evidence in your report that
shows that Dey's WACs were inflated?

A. Well, among others was the statement that I
pointed out to you just a few minutes ago.

Q. Oh, really?

A. Again, you're saying WACs. I'm talking
about both prices that were reported, which could be

AWP or WAC.

Q. You have to answer the question that's
asked. My question is limited to WACs.

A. I'd have to go back and look at the data
that L used to formulate my analysis and report and |
don't have that in front of me right now. I would
have to go back and look at that to answer that
question.

Q. So sitting here under oath --

A. I believe these statements in here to be
truthful and based on analysis and reviewing documents |
in this case.

Q. Well, nevertheless, sitting here today :
after preparing for the past week you cannot point ou
any evidence to me that supports a claim that Dey's

Om wn wm & WN

MR. BREEN: Objection, form.
9 Q. Point it out to me.
10 A. Well, first of all, this conclusory
1] statement doesn't necessarily say WAC. It says that
12 "Reported prices to commercial drug price databases
13 were inflated in relation to actual drug prices."
14. So--
15 Q. So you're not intending to encompass WAC in
16 that statement?
17 A. WAC to the degree that they were reported
18 could be encompassed there and AWP to the degree that
19 it was reported is encompassed there.
20 Q. I'm not asking you could be. You're the
21 guy who report the report. Was it your intention to
22 convey to the reader in that report that Dey's WAC

fh keh tee
Co wm IDN oo & WN SK OW CIA wn —

No NO
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